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XIAO YE BAN IDNO. [2998 9f
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
XIAQYE PAL 1 —-
Vv. | | JUDGE. RICHARD F. BOULIWARE
CALVIN JOHNSON e¢ ul j) MAGISTRATE suoeeELAYNA 3. YoucHAH
wf JJN ft Ul,
Defendanes j

 

 

 

INDIGENT INMATE XIAQYE BAL AS PRO PER PLAINTIFF IN THE HIGH
DESERT STATE PRISON, HEREBY RESPECTFULY SUBMITS THIS Manian
REQUEST For RELEVANT ASSISTANCE REGARD 72 INMATE MEDIATION PROGRAM.

COMES NOW, on whee 12yt JL nmate Xiaa fe Bai , herein above respectfully

 

This Motion is made and based upon the accompanying ne f Poinis, andl Authovisies,

and Statement and evidence this Court mas consider.
DATED: this OT" day of _Oetobey _. 20.21. =

 

a

: XiaoYe Bai 4 _je99z dl

Plaineidt > fn Proper Personam

Page~_].

 
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MEMORANDUM OF PJINTS AND AUTHORITIES

 

 

L. NiRopuction

 

 

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XiaaYe Bai_as Plaintitf in Pro Se (herein afer Mr. Bai M6 Motion shaulel he
Sianeed because he has demonstrated eb citcumstances. “exist in us rif
of the tose and Good cause showin} the

Velevane assictanie which is Attorney wlfor nities | ee

 

 

 

 

TL. RELEVANT PROCEDURAL HIS TORY | —_

 

 

 
   

16 to on the Court aoe Z| says, of He in 0 of thet Pott of His 7 roe
t will entev a limited notice of appearance_on behalf of the detendants for the
Purpose of settlement. This master is teferted to lnmase Mediation Findtam and is —

Stayed tov 40 dais to allow tov mediation und [ar settlement.

 

 

 
 
 

pursuant +:
Del herase Indi orence ton Gerais Medal Need

based upon t the a all Hans that” He elo A “Quer” ail Base tb

 

of Fettin4 up ar 4Yoin4 to ae al bs ne A iesult of thei Actions, Ne Bai acid
to See up to wtvieve his meal and he feil and further injured himself. Once supervisors
lealized that Ahr. Bai_was ined ans lying on the thea, thes ie lec lst a

 

ore Not tl af ie: (- 1); Ajainst a, “hasadl us upon he eens thw Mr Bai
WIS _-Suttering trom Swel lin’ in his rial 1t fade and an infected wound 4hat Was
ina. Mv. Bai was in so mush pain, that he felt it neceseam 4a call a

 

 
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Aftev a. _cattectiond officer calledl the infirmary, “Chnsey” came back ta the unit
y. Bai. but she still Lief + +a Proviale i. Bai any treatment As

  
 

«

responsible fa ae inmates tov medical tee das
the treatment that has heen Prescribed by rm doctor. Fallow ind Mr. Ba surgeries,
he needed vegular checkups fiom the doctor, and he was Presecii ition and
races to assigt_in his ie cover, “Jaymie ” ancl Faulkner” ‘enoutedla deleted loch
AN Bais medical appointments with the cloctors. They alco failed ta Piovide Mr Bai

his medication on a Consistent basis, and they failed to Provide him the medical
brates thut had been Prescribed. As a jesult of the delays in seeing a doctor, the
Fpiluve ta Provide him his medication on 4 consistent basis _ and the Failure +0
Plovide him medical braces , Mr. Gai’s condition warsenes {and he continued ta suber
in extieme Pain. | ECE No. i) at lo: 23-28, M1: /-10 ).

(B)_ a Fivet Amend ment Retaliation ee AQRinst “Hol Guin "and Auden” hased

Mont the alleqations thas fal lowin4 Mr. Bar's complaines tthoiut them, “Holguin “and

Qu Quer” engaged in several acts Of retaliation sinchadin§ 2 : yequiring Mp. Bai ta come
49 his cell lar ta retrieve his food. filing a talse disciplinary chavje., tuning off
tek ms £ his 4iievances _andl dliecting nus ive ta
Language are hin. (ECE No. 1! a Ih: [| -22, IZ: 1-5. )

(BD u Fourezenth Amend ment Denied Due Process Claim a§ainst “Zelaya bozed

fon the al [lp Gations thnk “Zelaya” conducted A discipln nay beving bse anche
y Bai p Fi Prigay » My Bai an efual

  
 

 

 

 

 

 

 

 
   

 

 

Pid ff Bai assistance Son the an even aria Fal lish is ares
CECE Nott at (5: 7-228, (£: 1-16 ie AGAiNS “Rucbloh” “andl “Garett” hasad upon

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the al ans thas her Guilty Findiv4, fy. Bai was sanctioned ta Pay
restitution tay the wmode val costs fay his nr As a vesult., “Rudolph. ‘and 6 Galtete
charged | Mr Bai aver $50,000.00 in restitution. But no evidence was evel provided
to Support the dinaune of vestitution. (ECF Neil at IL: 17-20); a4ainst “Bhnen,
based upon the alledazions thas My. Bai Turthey informed “Johnson. about the

im Proper witholrawal oF money tom his Acc aAnt without any heating av evidlence-

to suppare the amount of restitution, but “Johnson oid not take ant action +0

vectify the issue. LECF No. {| at 16: 22-23.)

 

 

The Cowe will tefey this case to the Gurt’s Inmate Early Mediation Projram.
and the Court will enteva subsequent alder. (ECF Neil at 20: 4-6.)
Notions for exclusion fiom inmate mend iatian Pig4 lam ar? due_within 21 dens

4o- day stay repoit due 12/49 (2921. 7

__ At thig time, if the tase has been referred ta che Inmate Eaily Mediasian
Piagvam, then the velevans Me dinzion will take Place. t Ag Such, this Matin follows:

 

 

J. LEGAL SiAnpaep =

 

 

 

the Cowlt Muy request AN httoinet to lepyesPnd ani Person unable £7
afford counsel, Pursuant to Title 28. wh Cate 8 1405 ey), at the Planet
has showin4 the “exceptional licumstanies ” evict that would Permi+ the
(uk 42 OPpoine OF Counsel _ Pruitt V. More, 503 F. ad 641 £55 ( Teh Liv. Zoo).

 

In this case. befove the Parties begin discovery to determine whether the
Parties Can _wark together £0 each 2 reasonable vesolusion, the lnmuse Early

 

ta help the Parties define the issues
Frequently , 0s in the Present instance. aPPoint OF counsel Lan watke with the.

 

Paas - HY

 
 

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OPPasin4 Party fo teach a Settlement OF the fase OF it Se. nal ,
‘tounsel for the Plainesff tan Shorten the trial and [i i it ob as

benefitting his client, apPosin4 Paities and conve Kini

745.799 (Sth Cir. (9x0) =—_

IV. LEGAL DIScussion ;

A. The ANotion Supra Succoostul Communi cadion During The Mediation;

 

 

 

 

 

 

 

 

Ac a matter of fact the beasan Ahi. Bei wble le nto hc.

 

 

 

 

 

 

Section 1483 claims. St arnth V. Spellman. 654 rol 1349, 1353 ( d¢h Cir. 19Z1)

 

The Cours will appoint counsel to represent an indigenes litiqant_uncbe 2K V5.0!
8/9/5 (edi) ov . eX cepsional Lircumstames py ist. Terrell v. Brewer, 7945 E2d
lal» tot] (4th Civ. 1991).

Mediation ic an infaymal oPPartunt4 ta Di
oPPosin4 Parey's Point of view. Mr Bai lash of finance
afford Private Ateomey and [at mandarin - InterPro rte ELF No. r id [: [5-22.)

 
 

 
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an Withoue 4 the ure provide
video contevente.. My. Bai will continue 4

Reguivements. But the Patties may Sesult in do nok settle the CASé which

lose the Purpose of the ee Thus, the motion chaudd he 4vanted

 

Vi_ CONCLUSION _

Plainsift Xiao Ye Fai’ ¢_ Matian respecttully vequest — to} Agtoin ney as mau vbbin

7 Tnterpye ete y as s_beasonable assistinte to the: Pay in tips) nel settling this CASE

 

 

 

 

  

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the denial i alive Process , also will mov etilina this
without the need for Pvahiy fount tétion , -f the et heen am

 

DATED his 27 chy of October, 202!

Respectfully Submited —__
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phe
—~ Xing le. Bai * 99 €46
Pi laintitl, In fro lev

 

 

 

 

 

 

 

 
